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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

 UNITED STATES OF AMERICA                       §
                                                §
 v.                                             §    CASE NO. 2:12-CR-3-3 -JRG-RSP
                                                §
 PEGGY ANN DAVIS                                §


               ORDER ADOPTING MAGISTRATE JUDGE=S REPORT AND
                        FINDING DEFENDANT GUILTY

        On this day, the Court considered the Findings of Fact and Recommendation of United

 States Magistrate Judge Roy S. Payne regarding defendant=s plea of guilty to Count 113 of an

 indictment with a violation of 21 U.S.C. ' 841(c), Possession of a List 1 Chemical with Intent to

 Manufacture Methamphetamine.        Having conducted a proceeding in the form and manner

 prescribed by FED. R. CRIM P. 11, the Magistrate Judge recommends that the Court accept the

 defendant=s guilty plea. The parties waived their right to file objections to the Findings of Fact
      .
 and Recommendation. The Court is of the opinion that the Findings of Fact and

 Recommendation should be accepted.

        It is accordingly ORDERED that the Findings of Fact and Recommendation of the

 United States Magistrate Judge, filed June 25, 2012, are hereby ADOPTED.

        It is further ORDERED that, pursuant to defendant=s plea agreement, the Court finds

 defendant GUILTY of Count 113 of the indictment in the above-numbered cause.
         SIGNED this 19th day of December, 2011.
        So ORDERED and SIGNED this 30th day of July, 2012.




                                                           ____________________________________
                                                           RODNEY GILSTRAP
                                                           UNITED STATES DISTRICT JUDGE
